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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SAQIB ALI,

Civil No. CCB-19-0078

LAWRENCE HOGAN, et al.

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ORDER
For the reasons stated in the accompanying Memorandum, it is hereby ORDERED that:
1. The defendants’ motions to dismiss (ECF Nos, 9 & 10), are GRANTED;
2. this case is DISMISSED without prejudice;
3. the plaintiffis GRANTED leave to amend within 28 days;
4. Ifno amended complaint is filed, the Clerk shall CLOSE this case; and
5. the Clerk shall SEND a copy of this Order and accompanying Memorandum to counsel of

record.

 

Date Catherine C. Blake

United States District Judge
